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                                     UNITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON

                                            PORTLAND DIVISION


THE RINGSIDE, INC., an Oregon                                                Civil No.: 3:20-cv-01709
corporation,
                                                           NOTICE OF REMOVAL
                                      Plaintiff,
                                                           PURSUANT TO 28 U.S.C. §§ 1441 AND
            v.                                             1446

THE CINCINNATI CASUALTY                                    MULTNOMAH COUNTY CIRCUIT
COMPANY, an Ohio corporation,                              COURT NO. 20CV30521

                                      Defendant.


            Defendant The Cincinnati Casualty Company (“Cincinnati”) submits this Notice of

Removal pursuant to 28 U.S.C. §§ 1441 and 1446(a) for the purpose of removing the above-

entitled action from the Circuit Court of the State of Oregon for the County of Multnomah

(“Multnomah County Circuit Court”) to the United States District Court for the District of

Oregon, and states in support of this removal as follows.


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                                     I. ENTITLEMENT TO REMOVAL

            On or about September 3, 2020, Cincinnati was served with copies of Summons and

Complaint in an action filed by plaintiff The Ringside, Inc. (“Plaintiff”), entitled The

Ringside, Inc. v. The Cincinnati Casualty Company, Case No.: 20CV30521, filed in

Multnomah County Circuit Court (the “Complaint”). To Cincinnati’s knowledge, no further

proceedings have occurred in this action. This Notice of Removal is filed within thirty days

after Cincinnati received service of the Complaint, as required by 28 U.S.C. § 1446(b).

            This is a civil action of which this Court has original jurisdiction pursuant to 28

U.S.C. § 1332, and is one which may be removed to this Court by Cincinnati pursuant to the

provisions of 28 U.S.C. § 1441, in that it is a civil action between citizens of different states,

and the matter in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

            A corporation is a citizen of any state by which it has been incorporated and of the

state where it has its principal place of business. 28 U.S.C. § 1332(c); see Davis v. HSBC

Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir. 2009). There are two tests that the Ninth

Circuit applies to determine the principal place of business of a corporation – the “place of

operations” test and the “nerve center” test. Davis, 557 F.3d at 1028. Under the “place of

operations” test, the principal place of business of a corporation is the state with “a

substantial predominance of corporate operations.” Id. If there is no state that has a

“substantial predominance of corporate operations,” the courts apply the “nerve center” test,

which determines the principal place of the corporation in the state where “the majority of its

executive and administrative functions are performed.” Id.




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            As alleged in the Complaint, Plaintiff is an Oregon corporation with its principal

place of business in Portland, Oregon. See Complaint at ¶ 1. Thus, Plaintiff is a citizen of the

State of Oregon. Cincinnati is now, and at all times referred to in the Complaint, a citizen of

the State of Ohio with its principal place of business in the State of Ohio. Therefore, the

parties satisfy the requirements for diversity of citizenship under 28 U.S.C. § 1332.

            Under 28 U.S.C. § 1332(a), diversity subject matter jurisdiction requires that the

matter in controversy “exceed[] the sum or value of $75,000, exclusive of interest and costs.”

28 U.S.C.A. § 1332(a). This requirement is met. A notice of removal “need include only a

plausible allegation that the amount in controversy exceeds the jurisdictional threshold,”

Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89 (2014), and if contested, a

court will determine whether the threshold is met by a preponderance of the evidence. Id. at

88; see also Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018). In

declaratory relief actions, “the amount in controversy is measured by the value of the object

of the litigation.” Corral v. Select Portfolio Servicing, Inc., 878 F.3d 770, 775 (9th Cir. 2017)

(quoting Cohn v. Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002)). Such value is

determined by “the pecuniary result to either party which the judgment would directly

produce.” Id. (quotation marks and citation omitted). Here, the Complaint states that

Plaintiff’s claims amount to at least $236,500 in value. See Complaint at ¶ 51; see also

Complaint’s Prayer for Relief at ¶ 1.

            Under 28 U.S.C. § 1441, this Court is the appropriate forum in which to file this

Notice of Removal because the United States District Court for the District of Oregon,

Portland Division is the federal judicial district embracing Multnomah County, Oregon, the

county in which the underlying action was filed.
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                                       II. PROCESS AND PLEADINGS

            A copy of all process, pleadings, and orders served on Cincinnati in the underlying

action are attached to this Notice of Removal as Exhibit A, as required by 28 U.S.C. §

1446(a).

                                III. FILING IN MULTNOMAH COUNTY CIRCUIT
                                                   COURT

            Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

will be promptly given to all adverse parties and shall be filed with the clerk of the

Multnomah County Circuit Court.

            WHEREFORE, Cincinnati respectfully requests that this action be removed to and

proceed hereafter in this Court, and that no further proceedings be had in Multnomah County

Circuit Court.

            DATED: October 2, 2020


                                                 BULLIVANT HOUSER BAILEY PC



                                                 By s/ Lloyd Bernstein
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